      Case 4:21-cv-00163-WTM-CLR Document 19 Filed 06/08/21 Page 1 of 1

                     United States District Court
                                Southern District of Georgia

     MARLENE HYTON,
     ________________________                    Case No. FY:70&/5
              Plaintiff

v.                                               Appearing on behalf of
     TITLEMAX FINANCING, INC
                                                          3ODLQWLII+\WRQ
     ________________________                         _________________________________
             Defendant                                         (Plaintiff/Defendant)


                                  ORDER OF ADMISSION
        It appearing to the Court that the requirements stated in LR 83.4 for admission
        pro hac vice have been satisfied, Petitioner’s request to appear pro hac vice in
        the United States District Court for the Southern District of Georgia in the
        subject case is GRANTED.

        This WK day of -XQH, .



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                                                                T S MAGISTRATE JUDGE
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      NAME OF PETITIONER:               $YL5.DXIPDQ
                                     ______________________________________________________


            Business Address:            .DXIPDQ3$
                                     ______________________________________________________
                                                        Firm/Business Name

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                                              Mailing Address (if other than street address)

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                                         Address Line 2       City       State       Zip
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                                     __________________________________ ___________________
                                      Telephone Number (w/ area code)    Georgia Bar Number

              Email Address:            NDXIPDQ#NDXIPDQSDFRP
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